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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
PETER SHEFMAN,

             Plaintiff,

                                             Case No. 2:18-cv-11477
                                             Honorable David M. Lawson
vs.                                          Magistrate Anthony P. Patti

AMERICAN AIRLINES, INC.,
             Defendant.


Danielle Cadoret (P77162)                  JAFFE RAITT HEUER & WEISS, PC
Attorney for Plaintiff                     Scott R. Torpey (P36179)
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             DEFENDANT AMERICAN AIR LINES, INC.’S
                   NOTICE OF WITHDRAWAL
       OF THE MOTION TO DISMISS PLAINTIFF’S NEGLIGENT
           INFLICTION OF EMOTIONAL DISTRESS CLAIM
                AND PUNITIVE DAMAGES REQUEST
      NOW COMES Defendant American Airlines, Inc., by and through its

attorneys, Jaffe, Raitt, Heuer, & Weiss, and files this Notice of Withdrawal of the
Case 2:18-cv-11477-DML-APP ECF No. 24 filed 09/10/18        PageID.105      Page 2 of 2



Motion to Dismiss Plaintiff’s Negligent Infliction of Emotional Distress Claim and

Punitive Damages Request [ECF No. 10].

                                             /s/Scott R. Torpey
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                                             Phone: (248) 351-3000
                                             E-mail: storpey@jaffelaw.com
                                             Bar No: (P36179)

                         CERTIFICATE OF SERVICE
      I hereby certify that on September 10, 2018, I caused the foregoing

document to be electronically filed with the Clerk of the Court using the ECF

system, which sent notification of such filing upon all ECF Participants.


                                       /s/Katherine M. Abrignani
                                       Katherine M. Abrignani




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